                Case: 22-12088      Doc: 239     Filed: 07/03/23     Page: 1 of 14




                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

 In re:                                           §
                                                  § CASE NO. 22-12088-SAH
 KEYSTONE GAS CORPORATION                         §
                                                  § CHAPTER 11
                      Debtor.                     §
                                                  §

                    DEBTOR’S APPLICATION FOR ORDER VACATING
                       JULY 11, 2023 CONFIRMATION HEARING

          Keystone Gas Corporation (“Keystone” or the “Debtor”), debtor and debtor-in-possession

in the above-captioned chapter 11 case, has withdrawn its Plan of Reorganization [Docket No.

153] and Disclosure Statement [Docket No. 154], dated March 29, 2023 (including all amendments

thereto), and hereby moves the Court to vacate the Confirmation Hearing set for July 11, 2023. In

support, the Debtor states the following:

          1.     On March 29, 2023, the Debtor filed its Plan of Reorganization [Docket No. 153]

(together with all amendments and modifications thereto, the “Plan”) and Disclosure Statement in

Support of Plan of Reorganization [Docket No. 154] (together with all amendments and

modifications thereto, the “Disclosure Statement”). On May 9, 2023, the Debtor filed its

Amended Plan of Reorganization [Docket No. 190] and Amended Disclosure Statement in Support

of Amended Plan of Reorganization [Docket No. 189], and on May 10, 2023, the Debtor filed a

Second Amended Disclosure Statement in Support of Amended Plan of Reorganization [Docket

No. 193]. Following a hearing on notice before the Court on May 10, 2023, the Debtor filed its

Second Amended Plan of Reorganization [Docket No. 196] and Third Amended Disclosure

Statement [Docket No. 197], incorporating changes requested by the Court at the May 10, 2023

hearing. Subsequent to the entry of the Court’s May 16, 2023 Order approving the Disclosure

Statement [Docket No. 199], and prior to solicitation of the materials described in paragraph three


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                      Page 1 of 14
              Case: 22-12088         Doc: 239      Filed: 07/03/23       Page: 2 of 14




of the Order, the Debtor notified the Court of its intention to file its Third Amended Plan of

Reorganization and Fourth Amended Disclosure Statement, incorporating nonmaterial changes to

both pleadings. On May 19, 2023, the filed its Third Amended Plan of Reorganization [Docket

No. 203] and its Fourth Amended Disclosure Statement [Docket No. 204].

       2.      On May 19, 2023, the Court entered its Amended Order Approving Disclosure

Statement and Fixing Time for Filing Acceptances or Rejections of Plan, Combined with Notice

Thereof and Notice of Hearing on Confirmation of the Debtor’s Plan of Reorganization [Docket

No. 206] (the “Disclosure Statement Order”), which set forth plan-related deadlines and set the

hearing on confirmation of the Plan on July 11, 2023.

       3.      Seven objections to confirmation of the Debtor’s Plan were timely filed.

       4.      After analyzing the costs and time required to resolve all objections, Keystone Gas

Corporation and its equity sponsors have elected to withdraw the current Plan and pursue a

liquidation of the Debtor’s assets, either through a sale of the Debtor’s assets pursuant to 11 U.S.C.

§ 363 or conversion to Chapter 7.

       5.      Accordingly, the Debtor files this Application seeking for the Court to vacate the

hearing set for July 11, 2023 at 9:30 a.m. as moot.

       WHEREFORE, the Debtor requests that the Court vacate the hearing on confirmation of

the Plan set for July 11, 2023, and for all relief to which the Debtor is justly entitled.




DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                           Page 2 of 14
            Case: 22-12088   Doc: 239   Filed: 07/03/23      Page: 3 of 14




 Dated: July 3, 2023.              Respectfully submitted,

                                   SPENCER FANE LLP

                                   /s/ Megan F. Clontz
                                   Megan F. Clontz
                                   Texas Bar No. 24069703 (admitted pro hac vice)
                                   5700 Granite Parkway, Suite 650
                                   Plano, Texas 75024
                                   Telephone: (972) 324-0300
                                   Facsimile: (972) 324-0301
                                   Email: mclontz@spencerfane.com

                                   Jason P. Kathman
                                   Texas Bar No. 24070036 (admitted pro hac vice)
                                   5700 Granite Parkway, Suite 650
                                   Plano, Texas 75024
                                   Telephone: (972) 324-0300
                                   Facsimile: (972) 324-0301
                                   Email: jkathman@spencerfane.com

                                   Anthony J. Ferate, OBA No. 21171
                                   9400 N. Broadway Extension, Suite 600
                                   Oklahoma City, Oklahoma 73114
                                   Telephone: (405) 844-9900
                                   Facsimile: (405) 844-9958
                                   Email: ajferate@spencerfane.com

                                   COUNSEL FOR DEBTOR
                                   AND DEBTOR IN POSSESSION




DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                           Page 3 of 14
              Case: 22-12088        Doc: 239     Filed: 07/03/23      Page: 4 of 14




                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

 In re:                                            §
                                                   § CASE NO. 22-12088-SAH
 KEYSTONE GAS CORPORATION                          §
                                                   § CHAPTER 11
                    Debtor.                        §

                                CERTIFICATE OF SERVICE

        This is to certify that on or before July 3, 2023, a true and correct copy of the Debtor’s
Application For Order Vacating July 11, 2023 Confirmation Hearing, filed on July 3, 2023, was
served upon the following parties via U.S. First Class Mail. Exhibits to the foregoing are available
by visiting the Bankruptcy Court’s website at https://ecf.okwb.uscourts.gov/ or by email request
to mclontz@spencerfane.com.

Creek County Treasurer, 317 E. Lee, Room 201, Sapulpa OK 74066-4325
Lincoln County Treasurer, 811 Manvel Avenue #6, Chandler OK 74834-3800
Logan County Treasurer, PO Box 219, Guthrie OK 73044-0219
Pawnee County Treasurer, 500 Harrison Street Room 200, Pawnee OK 74058
Payne County Treasurer, 315 W. 6th Avenue, Stillwater OK 74074-4079
Internal Revenue Service, Centralized Insolvency Operation, P.O. Box 7346, Philadelphia PA
19101-7346
Navitas Utility Corporation, 3186D Airway Avenue, Costa Mesa, CA 92626
Ally Bank, c/o AIS Portfolio Services, LLC, 4515 N Santa Fe Ave. Dept. APS, Oklahoma City,
OK 73118-7901
RCB Bank, c/o Scott P. Kirtley, Riggs, Abney, 502 West 6th Street, Tulsa, OK 74119
Circle 9 Resources LLC, c/o Natalie M. McMahan, Phillips Murrah P.C., 101 North Robinson,
13th Floor, Oklahoma City OK 73102-5504
Oklahoma Tax Commission, General Counsel’s Office, P.O. Box 269056, Oklahoma City OK
73126
Aruba Petroleum, Inc., 7018 Stone Meadow Drive, Dallas, TX 75230-2377
Cartledge & Cartledge Oil Co., PO Box 40, Kiefer OK 74041-0040
Concorde Resources Corporation, P.O. Box 841, Eufaula OK 74432-0841
Eagle River Energy Corp., 3701 S. Orange Circle, Broken Arrow OK 74011-1103
Harris Oil Co., Inc., Drawer 112, Cushing OK 74023-0112
Harris Oil Co., Inc., P.O. Box 1110, Cushing, OK 74023-1110
Huntington Energy, L.L.C., 908 N.W. 71st Street, Oklahoma City OK 73116-7402
J J & K Oil Company LLC, McDonald Law PLLC, 15 W 6th Street Suite 2606, Tulsa OK 74119-
5413
KLO, LLC, McDonald Law, PLLC, 15 W 6th St., Ste. 2606, Tulsa, OK 74119-5413
Little River Energy Company, McDonald Law PLLC, 15 W 6th St Ste 2606, Tulsa OK 74119-
5413
Loki Oil LLC, PO Box 142, Cushing, OK 74023-0142
Marle Production Co., LLC, 5310 E. 31st St., Suite 900, Tulsa, OK 74135-5018


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                       Page 4 of 14
             Case: 22-12088      Doc: 239     Filed: 07/03/23     Page: 5 of 14




Oak Hill Petroleum Corporation, 1611 Randel Road, Nichols Hills, OK 73116-5627
Oakland Petroleum Operating Co., Inc., McDonald Law PLLC, 15 W 6th St Ste 2606, Tulsa OK
74119-5413
Petco Petroleum Corporation, 108 East Ogden Avenue, Hinsdale IL 60521-3874
Revard Oil & Gas Properties, Inc., P.O. Box 702294, Tulsa OK 74170-2294
Terzan Energy II LLC, 880980 S 3420 RD, Chandler, OK 74834-5024
Yarhola Production Company, 1209 E. Bdwy, Drumright OK 74030
Greg Sparks (Shamrock Operating Company LLC), P.O. Box 3897, Afton OK 74331-3897
Gungoll Jackson Box & Devoll PC, 101 Park Avenue, Suite 1400, Oklahoma City, OK 73102-
7216
Wells Fargo Vendor Financial Services, LLC, PO Box 13708, Macon, GA 31208-3708
City of Yale, c/o Wyatt D. Swinford, Elias, Books, Brown & Nelson, P.C., 211 N. Robinson Ave.,
Suite 1300, Oklahoma City, OK 73102
Yale Water and Sewer Trust, c/o Wyatt D. Swinford, Elias, Books, Brown & Nelson, P.C., 211 N.
Robinson Ave., Suite 1300, Oklahoma City, OK 73102
ADT Security Services, 3190 S. Vaughn Way, Aurora CO 80014-3541
AT&T, 208 S. Akard Street, Dallas TX 75202-4206
Airgas USA, LLC, P.O. Box 734671, Dallas TX 75373-4671
Arco Environmental Remediation, LLC, 1701 Summit, Suite 2, Plano TX 75074-8175
Baker Hughes Oilfield Inc., 1333 Corporate Drive #300, Irving TX 75038-2535
Battery Outfitters, P.O. Box 215, Golden MO 65658-0215
Community Care, P.O. Box 3249, Tulsa OK 74101-3249
Davco Fab, P.O. Box 361, 921 North Main, Jennings OK 74038-0361
Dell Financial Services, c/o Resurgent Capital Services, PO Box 10390, Greenville SC 29603-
0390
Dexxon Yarhola, 732 Indiana Avenue, Kiefer OK 74041-4541
Earl-Le Dozier, LLC, P.O. Box 351, 512 W. Highway 33, Drumright OK 74030-0351
First United Bank & Trust Co., c/o William Riley Nix, 717 N. Crockett St., Sherman, TX 75090
Indian Electric Coop, 2506 E. Highway 64, Cleveland OK 74020-4054
Industrial Oils Unlimited, P.O. Box 3066, Tulsa OK 74101-3066
Jacam Catalyst, LLC, 205 S Broadway, Sterling, KS 67579-2339
James J. Hodgens, PC, P.O. Box 686, 301 West Main Street, Stroud OK 74079-3611
Measurement Solutions, Inc., 6705 E. 81st Street, Suite 156, Tulsa OK 74133-4129
Logan County RWD #3, P.O. Box 187, Marshall OK 73056-0187
Memorial Machine, 6303 S. 40th West Avenue, Tulsa OK 74132-1200
OGE Energy Corp., P.O. Box 321, Oklahoma City OK 73101-0321
Office of Natural Resources Revenue, PO Box 25165 MS 64200B, Denver, CO 80225
Okie 811, 6908 N. Robinson Avenue, Oklahoma City OK 73116-9041
Oklahoma Corporation Commission, 2101 North Lincoln Blvd., Oklahoma City OK 73105-4993
Oklahoma One Call System Inc., 6908 N. Robinson Avenue, Oklahoma City OK 73116-9041
Omega Rail Management Inc., 109 Westpark Drive, Suite 440, Brentwood TN 37027-5032
Omega Rail Management, Inc., 4721 Trousdale Drive, Suite 206, Nashville TN 37220-1372
Payne County Rural Water District #2, P.O. Box 103, Terlton OK 74081-0103
Phil's Testing & Consulting, LLC, 13125 SE 40th Street, Choctaw OK 73020-6134
Pitney Bowes Inc, 27 Waterview Dr, 3rd Fl, Shelton, CT 06484-4361
RSI, Inc., P.O. Box 1829, Seminole OK 74818-1829


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                 Page 5 of 14
             Case: 22-12088       Doc: 239     Filed: 07/03/23     Page: 6 of 14




Suddenlink, 200 Jericho Quadrangle, Jericho NY 11753-2701
Superior Pipeline Company, LLC, Attention: John Rosentreter, 8200 South Unit Drive, Tulsa, OK
74132-5300
Tucker Construction Co., Gray Reed, Julia Edwards, 1300 Post Oak Blvd. Ste. 200, Houston, TX
77056-3085
Walt Pettit, 705 E Yuma Dr, Broken Arrow OK 74011-7297
Waukesha-Pearce Industries, LLC, 2211 Norfolk, Suite 510, Houston, TX 77098-4048
Bureau of Indian Affairs, Okmulgee Agency on behalf of Heirs of Susanna Dacon, c/o Kay Sewell,
210 Park Avenue, Suite 400, Oklahoma City, OK 73102
Bureau of Indian Affairs, Pawnee Agency on behalf of Heirs Sadie and Maud Blue Hawk, c/o Kay
Sewell, 210 Park Avenue, Suite 400, Oklahoma City, OK 73102
BankDirect Capital Finance, 150 North Field Drive, Suite 190, Lake Forest IL 60045-2594
Guardian Energy Consultants, Inc., 321 S. Frankfort Ave., Tulsa, OK 74120-2428
USBC Western District of Oklahoma, 215 Dean A. McGee, Oklahoma City, OK 73102-3426
Advance Oil, 14504 Hwy 75 Alternate, Kiefer OK 74041
Allen Baugh, 12589 South 486th W. Avenue, Drumright OK 74030-5914
Alvin Rusco, 45210 West Hwy 51, Jennings OK 74038-2516
Artie Smith, 3809 68th Street, Stillwater OK 74074-2428
Atchley Resources, Inc., 13903 Quail Pointe Drive, Oklahoma City OK 73134-1002
B&G Oil Co., P.O. Box 558, Hominy OK 74035-0558
Barta Enterprises, LLC, 6401 Rambridge Drive, Oklahoma City OK 73162-1728
Becca Oil, LLC, P.O. Box 1347, Cushing OK 74023-1347
Benson Minerals Group, Inc., 1560 Broadway #1900, Denver CO 80202-4947
Berexco LLC, 2020 Bramblewood, Wichita KS 67206-1094
Big Four Operation, 1214 South Highland, Cushing OK 74023-5210
Brandon & Regina Brunker, 7222 S. Fairgrounds Road, Stillwater OK 74074-6172
Brian McDonald, P.O. Box 61, Jennings OK 74038-0061
C & B Oil Company, P.O. Box 176, Drumright OK 74030-0176
C&C Production LLC, P.O. Box 1861, Muskogee OK 74402-1861
C.W. Davidson, 361574 E. 55 Rd., Jennings OK 74038
Casa Grande Exploration Co., 11371 Waverly Drive, Casa Grande AZ 85194-6821
CATERPILLAR FINANCIAL SERVICES CORPORATION, 2120 WEST END AVENUE,
NASHVILLE TN 37203-5341
Cathy Baker, 1004 W. Boston PLC, Broken Arrow OK 74012-7609
Charles Lindsey Riddle, 43747 West 131st Street, Bristow OK 74010-9527
Cher Oil Company Inc., 7317 S. Ripley Road, Ripley OK 74062-6227
Chizum Oil, LLC, P.O. Box 123, Andover KS 67002-0123
Chris Clemenshire, 2425 E. 53rd Street, Tulsa OK 74105-6601
Cindy Edwards, 4110 N. Rosebud Road, Drumright OK 74030-5828
Circle K Oil & Gas, P.O. Box 276, Sand Springs OK 74063-0276
Cissy Spencer, P.O. Box 291, Jennings OK 74038-0291
City of Yale, 209 N. Main Street, Yale OK 74085-2509
City of Yale, c/o Roger L. McMillian, Roger L. McMillian, P.C., 111 W. 9th, Stillwater OK 74074-
4606
Clarence L. Smith, P.O. Box 164, Hallett OK 74034-0164
Clemishire Drilling Co., 2425 E. 53rd Street, Tulsa OK 74105-6601


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                   Page 6 of 14
             Case: 22-12088      Doc: 239    Filed: 07/03/23    Page: 7 of 14




Clint T. Swanson, 1516 S Boston Avenue, Suite 130, Tulsa, OK 74119-4053
Clyde Matheson Jr. & Nancy C. Trust, 2208 S. Council Creek Road, Stillwater OK 74074-7096
Clyde Matheson Jr. and Nancy C. Matheson Trust, 2208 South Council Creek Road, Stillwater
OK 74074-7096
Commissioners of the Land Office, State of Oklahoma, 204 North Robinson, Suite 900, Oklahoma
City OK 73102-6806
Dan A. and Geraldine L. Simonton, 48098 W. 131st Street South, Drumright OK 74030-5515
Daniel Gilliss, 10625 S. Hwy 99, Drumright OK 74030-5920
David Poulter, P.O. Box 31, Jennings OK 74038-0031
De Lange Landen Financial Services, Inc., 1111 Old Eagle School Road, Wayne PA 19087-1453
Deborah Addison, 5500 West Oasis Road, Tucson AZ 85742-8541
Deisenroth Oilfield Service, 1924 S. Utica Avenue, Suite 540, Tulsa OK 74104-6511
Delong Oil & Gas, Inc., P.O. Box 591, Drumright OK 74030-0591
Department of the Army, U.S. Army Corp. of Engineers, 5722 Integrity Drive, Millington TN
38054-5028
Donna Kramp, 62100 E. 5500 Road, Jennings OK 74038
Donna Moreland, 121 West 68th Street, Stillwater OK 74074-5921
Dorla M. Brown Living Trust, 2156 E. 48th Place, Tulsa OK 74105-8709
E. Nossaman Oil, Inc., 429 W. Ercoupe Drive, Midwest City OK 73110-2904
Earl Oil, Inc., 1910 Copperfield, Stillwater OK 74074-1079
Earl-Le Oil Company, 15341 S. 465th West Avenue, Bristow OK 74010-9547
Edge Oil Company, P.O. Box 284, Cleveland OK 74020-0284
Emerald Oil LLC, 369142 East 960 Road, Welty OK 74833-3906
Erin Poulter, P.O. Box 111, Jennings OK 74038-0111
Fairview Production, P.O. Box 1995, Muldrow OK 74948-1995
Fallen Timbers Energy, LLC, 2202 E. 49th Street, Suite 330, Tulsa OK 74105-8713
Fort Cobb Fuel Authority, LLC, 3186D Airway Avenue, Costa Mesa CA 92626-4650
Fowler of Tulsa C LLC, c/o Michael S. Fowler, 2721 NW 36th Avenue, Norman OK 73072-2411
Frank & Tonya Magness, 7200 E. Deep Rock Road, Cushing OK 74023-2994
Freddy Campo, 4004 N. Norfolk Road, Cushing OK 74023-8729
G & C Petroleum Inc., 102 W. Boston Avenue, Yale OK 74085-2502
GMG Oil & Gas Corporation, P.O. Box 1235, Okmulgee OK 74447-1235
Gary & Dee Dee Tucker, P.O. Box 53, Jennings OK 74038-0053
Glimp Oil Company, P.O. Box 391, Drumright OK 74030-0391
Gungoll, Jackson, Box, Devoll, PC, P.O. Box 1549, Enid OK 73702-1549
Harold Cundiff, 11906 S. Country Club Road, Stillwater OK 74059-4199
J.A. Marrs Oil Company, P.O. Box 1157, Drumright OK 74030-1157
Jacob Paul Griffin, P.O. Box 51, Hallett OK 74034-0051
James Hager, 201 W. 3rd Street, Jennings OK 74038
James Vandever, P.O. Box 64, Jennings OK 74038-0064
Jaye Wilson, 3166 Old Hwy 52 South, Pilot Mountain NC 27041-7114
Jeff Scott,1805 E. 32nd Place, Tulsa OK 74105-2219
Jeremy Speaks, P.O. Box 412, Jennings OK 74038-0412
Jeremy W. Tillery, 320 West Web Street, Glencoe OK 74032-1466
Jessica Gosney, P.O. Box 86, Jennings OK 74038-0086
Jessica Woodward, P.O. Box 363, Jennings OK 74038-0363


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                               Page 7 of 14
             Case: 22-12088     Doc: 239     Filed: 07/03/23    Page: 8 of 14




Jimmy Sternbach, 368840 Old Terlton Road, Terlton OK 74081-3705
Jo Lynn Digranes ,1223 Villas Creek Drive, Edmond OK 73003-3097
Joe Waters, P.O. Box 70, Luther OK 73054-0070
Kaleb Morphew, 359505 W. 5750 Road, Jennings OK 74038
Keener Oil & Gas Company, 1648 South Boston, Suite 200, Tulsa OK 74119-4434
Koby Oil Company, LLC, P.O. Box 1945, Oklahoma City OK 73101-1945
LVNV Funding, LLC, Resurgent Capital Services, PO Box 10587, Greenville, SC 29603-0587
LARRY & SHEILA MARTIN, 346751 E 4200 RD, PAWNEE OK 74058-3418
Larry Wolff, 750033 South 3540 Road, Cushing OK 74023-6740
Lee Levinson, Levinson, Smith & Huffman, P.C., 1743 E. 71st Street, Tulsa OK 74136-5108
Levinson Smith & Huffman P.C., 1743 East 71st Street, Tulsa OK 74136-5108
Lincoln County Land Office, 811 Manvel Avenue, Suite 5, Chandler OK 74834-3800
Linda R. Ramsey, 137 East Maple Street, Drumright OK 74030-2630
Lojel Energy, LLC, 9724 Briarcreek, Oklahoma City OK 73162-7418
Loy Boyle d/b/a High Energy, P.O. Box 1762, Cushing OK 74023-1762
Maggard Supply & Oil Company, 257 Will Hayes Road, Ellisville MS 39437-4422
Maggie Meidinger, P.O. Box 234, Jennings OK 74038-0234
Marc L. Ellison, 2211 Norfolk St, Suite 510, Houston, TX 77098-4048
Mark A. Sellers, P.O. Box 443, Drumright OK 74030-0443
Mark Lauderdale Enterprise, 3215 E. Deep Rock Road, Cushing OK 74023-6425
Marvin & Mary Vann, 36356 Pinehill Road, Bristow OK 74010-2054
Matthew Griffith, 1393 S. 441st W. Avenue, Terlton OK 74081-3329
Matthew Stollings, 6123 N. Harmony Road, Cushing OK 74023-6177
Max Haken Glenco, 9815 N. Bethel Road, Glencoe OK 74032-1500
Melba Watts, P.O. Box 434, Jennings OK 74038-0434
Michael Jones, 52449 W. Hwy 16, Drumright OK 74030-4445
Mickalson Operating Company, P.O. Drawer 409, Jennings OK 74038-0409
Mid-Con Energy, III L.L.C., 2341 East 61st Street, Suite 850, Tulsa OK 74136
Mike Lauderdale, 3215 East Deeprock Road, Cushing OK 74023-6425
Mike Lauderdale Enterprise, 3215 E. Deep Rock Road, Cushing OK 74023-6425
Morgan Zollars, P.O. Box 481, Jennings OK 74038-0481
Myrna Sellers, 52594 West 101st Street South, Drumright OK 74030-5778
NBI Services, Inc., P.O. Box 4470, Tulsa OK 74159-0470
Nossaman E Oil Co., Inc., P.O. Box 15793, Oklahoma City OK 73155-5793
Oil State Petroleum, P.O. Box 250, Jennings OK 74038-0250
PACE Exploration, P.O. Box 701923, Tulsa OK 74170-1923
Paradigm Twenty LLC, 5821 Jesse Lane, Stillwater OK 74074-8641
PARWEST LAND EXPLORATION, INC., 2601 NW EXPRESSWAY STE 500W,
OKLAHOMA CITY OK 73112-7201
Parwest Land Exploration, Inc., c/o C. Robert Stell, 252 NW 70th Street, Oklahoma City OK
73116-7807
Patti Lynn Bryant, c/o Micah D. Sexton, 123 W. 7th, Suite 202, P.O. Box 1118, Stillwater OK
74076-1118
Patti Lynn Bryant, c/o Scott Kevin Thomas, P.O. Box 1118,123 West 7th Avenue, Suite 200,
Stillwater OK 74074-4029
Paul Jones, P.O. Box 183, Jennings OK 74038-0183


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                               Page 8 of 14
             Case: 22-12088       Doc: 239     Filed: 07/03/23    Page: 9 of 14




Petro Warrior L.L.C., P.O. Box 306, Broken Arrow OK 74013-0306
Philip Osterhout, P.O. Box 693, Drumright OK 74030-0693
RBT Operating LLC, 2209 S. Airport Road, Cleveland OK 74020-4248
Randall & Deborah Fitzsimmons, 397180 W. 300 Road, Copan OK 74022-5403
Redtail Investments LLC, P.O. Box 120, Wheatland OK 73097-0120
Richard Allen Sellers, III, P.O. Box 711, Drumright OK 74030-0711
Ricky Ellifritt, 9954 South Hwy 99, Drumright OK 74030-5779
River Energy Ltd, LLC, P.O. Box 289, Mannford OK 74044-0289
Roberson Oil Company, Inc., P.O. Box 8, Ada OK 74821-0008
Rodney Patterson, P.O. Box 132, Jennings OK 74038-0132
Roe Oil Company, c/o Larry Roe, 6707 N. Harmony Road, P.O. Box 86, Cushing OK 74023-0086
Roger D Matheson, 12900 E 19th Avenue, Stillwater OK 74074-6519
Ruh Oil Company, P.O. Box 841, Owasso OK 74055-0841
S & M Production, P.O. Box 366, Pawnee OK 74058-0366
Sandra L. Kastning, P.O. Box 470, Jennings OK 74038-0470
Shawn Franklin Henry, 6908 Liberty Trails Blvd., Oklahoma City OK 73135-1902
Shideler Enterprises, Inc., P.O. Box 1233, Drumright OK 74030-1233
Sparks Oil Company, P.O. Box 597, Cleveland OK 74020-0597
Spress Oil Company, 200 South Broadway Street, Cleveland OK 74020-4617
Stacy Operating, LLC, P.O. Box 511, Cushing OK 74023-0511
Sue Carmel Pinkerton, 1701 E. Fairlawn, Cushing OK 74023-5755
Superior Oil & Gas, LLC, 42516 Hwy 412, Ringwood OK 73768-7009
Sykes Production, LLD, P.O. Box 527, Cleveland OK 74020-0527
Tamera Clark, P.O. Box 182, Jennings OK 74038-0182
Tammy Clark, P.O. Box 263, Jennings OK 74038-0263
Tap Petroleum, Inc., P.O. Box 54, Cleveland OK 74020-0054
Tarka Energy, LLC, 2 Riverway, Suite 1100, Houston TX 77056-1940
Trina Tatum, P.O. Box 184, Jennings OK 74038-0184
Umberham Oil Well Company, Box 363, Drumright OK 74030-0363
United States Trustee, United States Trustee, 215 Dean A. McGee Ave., 4th Floor, Oklahoma City,
OK 73102-3479
Varene Martin, 3936 Caminito Del Mar Cove, San Diego CA 92130-2519
Warrior Exploration and Production, LLC, P.O. Box 711, Barnsdall OK 74002-0711
Weaver Investments, Inc., 45988 W. 141st Street South, Bristow OK 74010-9532
Willis G. Ross, 16316 E. 80th Street, Cushing OK 74023-6079
Yohanna Taulman, P.O. Box 333, Jennings OK 74038-0333
Logan County Treasurer, Logan County Courthouse, 301 E. Harrison Avenue #100, Guthrie OK
73044-4939
Pawnee County Assessor, 500 Harrison Street #201, Pawnee OK 74058-2568
Ally Bank, P.O. Box 380902, Minneapolis MN 55438-0902
RCB Bank, c/o Scott P. Kirtley, Esquire, Riggs, Abney, 502 West 6th Street, Tulsa, OK 74119-
1016
Daisy Dowty, RCB Bank, P.O. Box 189, Claremore, OK 74018-0189
RCB BANK ATTN SPECIAL ASSETS, 300 W PATTI PAGE BLVD, CLAREMORE OK 74017-
8039
Circle 9 Resources LLC, 210 Park Avenue, Suite 1350, Oklahoma City OK 73102-5631


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                  Page 9 of 14
             Case: 22-12088      Doc: 239      Filed: 07/03/23    Page: 10 of 14




Circle 9 Resources LLC, P.O. Box 249, Oklahoma City OK 73101-0249
Circle 9 Resources LLC, c/o Justin G. Bates, Phillips Murrah P.C., 101 North Robinson, Oklahoma
City OK 73102-5504
Oklahoma Tax Commission, Oklahoma Tax Commission, PO BOX 269056, Oklahoma City, OK
73126-9056
Oklahoma Tax Commission, General Counsels Office, 100 N Broadway Ave Suite 1500,
Oklahoma City OK 73102-8601
Oklahoma Tax Commission, Attn: Bankruptcy, P.O. Box 269056, Oklahoma City OK 73126
Oklahoma Tax Commission, Attn: Legal, PO Box 269056, Oklahoma City, OK 73126-9056
Aruba Petroleum, Inc., 555 Republic Drive, Plano TX 75074-8865
J.J.&K. Oil Co., LLC, 114 NW 8th St., Oklahoma City, OK 73102-5805
KLO, LLC, c/o David W. Kvach, 321 S. Frankfort Avenue, Tulsa OK 74120-2428
Little River Energy Company, 1260 E. Broadway St., Drumright, OK 74030-5903
Loki Oil LLC ,1800 South Little Avenue, Cushing OK 74023-4854
Oak Hill Petroleum Corporation, 1611 Randel Road, Oklahoma City OK 73116-5627
Oakland Petroleum Operating, 1801 East 71st Street, Tulsa OK 74136-3922
Oakland Petroleum Operating, c/o Evan M. McLemore, Levinson, Smith & Huffman, P.C., 1743
E. 71st Street, Tulsa OK 74136-5108
Oakland Petroleum Operating Co, Inc. Creek County, 15 W 6th St Ste 2606, Tulsa OK 74119-
5413
Oakland Petroleum Operating Co., Inc., 7318 S. Yale Ave., Suite B, Tulsa, OK 74136-7000
Steve Crowder, P.O. Box 1113, Drumright OK 74030-1113
United States Department of Interior, 210 Park Avenue, Suite 400, Oklahoma City, OK 73102-
5602
City of Yale, c/o Wyatt D. Swinford, Elias, Books, Brown & Nelson, P.C., Two Leadership
Square, Suite 1300, 211 N. Robinson Ave., Oklahoma City, OK 73102-7149
Yale Water and Sewer Trust, c/o Wyatt D. Swinford, Elias, Books, Brown & Nelson, P.C., Two
Leadership Square, Suite 1300, 211 N. Robinson Ave., Oklahoma City, OK 73102-7149
DELL FINANCIAL SERVICES, P O BOX 81577, AUSTIN TX 78708-1577
Dell Financial Services, Resurgent Acquisitions LLC, c/o Resurgent Capital Services LP, 55
Beattie Place, Suite 110, Greenville SC 29601-5115
First United Bank, P.O. Box 130, Durant OK 74702-0130
Jacam Chemicals 2013 LLC, 205 S. Broadway, P.O. Box 96, Sterling KS 67579-0096
Office of Natural Resources Revenue, 6525 N. Meridian Avenue, Suite 270, Oklahoma City OK
73116-1420
Pitney Bowes, 2225 American Drive, Neenah WI 54956-1005
Pitney Bowes, c/o McCarthy, Burgess & Wolff, 26000 Cannon Road, Cleveland OH 44146-1807
Superior Pipeline, P.O. Box 702500, Tulsa OK 74170-2500
Waukesha-Pearce Industries, LLC, c/o Bernardo J. Garcia, 2040 N. Loop West, Suite 308,
Houston TX 77018-8123
Waukesha-Pearce Industries, LLC, c/o Jon D. Totz, Totz Ellison & Totz, P.C., 2211 Norfolk, Suite
510, Houston TX 77098-4048
Waukesha-Pierce Industries, LLC, P.O. Box 204116, Dallas TX 75320-4116
Yale Water and Sewage Trust, c/o William K. Elias, Elias, Books, Brown & Nelson, P.C., 211 N.
Robinson Avenue, Oklahoma City OK 73102-7149



DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                  Page 10 of 14
            Case: 22-12088     Doc: 239    Filed: 07/03/23    Page: 11 of 14




State Of Oklahoma Department Of Transportation, 200 N.E. 21st Street, Oklahoma City, OK
73105
Bureau Of Indian Affairs, Pawnee Agency, P.O. Box 440, Pawnee, OK 74058
3M Production Inc, PO Box 1246, Guthrie, OK. 73044
A B Still Wel-Service Inc, 226 E Broadway, Drumright, OK. 74030
Brady Brothers, 213 East Main, Cushing, OK. 74023
Bumblebee Energy LLC, 29714 E County Road 1640, Elmore City, OK 73433
Bureau Of Indian Affairs, Okmulgee Agency, P.O. Box 370, Okmulgee, OK 74447
Changos LLC, 624 Denver Avenue, Ste 300b, Tulsa, OK 74119
City Of Hallett, PO Box 159, Hallett OK 74034
City Of Jennings, PO Box 340, Jennings OK 74038
City Of Terlton, PO Box 82, Terlton OK 74081
CMT Oil And Gas Co Inc, 6528 E 101st Ste D1, Tulsa, OK. 74133
Contango Midstream Company, 717 Texas Ave Ste 2900, Houston, TX 77002-2836
Contango Resources LLC, 717 Texas Ave Ste 2900, Houston, TX 77002-2836
Crown Energy Company, 1117 NW 24th St, Oklahoma City, OK 73106-5615
Drumright Well Service Inc, PO Box 190, Oilton, OK 74052
Eagle Road Oil LLC, 321 South Boston Avenue, Ste 700, Tulsa, OK 74103
Enersource Petroleum Inc, PO Box 1000, Bixby, OK 74008
FHA Operating LLC, PO Box 1030, Cushing, OK 74023
Freedom Operating Company LLC, 2250 East 73rd Street, Suite 500, Tulsa, OK 74136
Glacier Petroleum Co OKLA Inc, 14000 N Western Ave, Edmond, OK 73013
GLB Exploration Inc, 7716 Melrose Lane, Oklahoma City, OK 73127
Harold Cundiff, 11906 S. Country Club Rd., Stillwater, OK 74059
Heritage Petroleum Inc, PO Box 935, Stillwater, OK 74076
Jack Laughlin, Rr 4 Box 2515, Cushing, OK 74023
Jessie V. Pilgrim, 1516 S. Boston Avenue, Ste 130, Tulsa, OK 74119
K S Oil Company Inc, 3100 S Berry Rd Ste 210, Norman, OK. 73072
Kopco Inc, 602 W 56th, Stillwater, OK 74076-0699
Little River Energy Company, PO Box 1113, Drumright, OK 74030
Lowe Kenneth, 50189 36500 Rd, Cleveland, OK 74020-6998
LVM Oil Production LLC, 16010 E Mcelroy, Yale, OK 74085
Natural Resources Operating LLC, 1831 E Imhoff Rd Ste 100, Norman, OK 73071-1295
Nellie Alderson Revocable Trust, 1412 N. Country Club Rd., Stillwater, OK 74075
NOGP Operating Company LLC, 2601 S Lake Dr, Texarkana, TX 75504-0718
RCK Oil And Gas LLC, 4877 Northshore Dr, Frisco, TX 75034-7568
Roberson Oil Company Inc, 201 E Cottage St, Ada, OK 74821-0008
Roe Oil Co., PO Box 86, Cushing , OK 74023
Ronco Energy, 4113 Northridge Rd, Norman, OK 73072
Rush Creek Operating LLC, 115 E Virginia St Ste 203, Mckinney, TX 75069-4460
Serendipity Production Company LC, 112 N Broad St, Guthrie, OK 73044-3336
SNR Operating LLC, 301 NW 63rd St Ste 400, Oklahoma City, OK 73154-0251
Special Energy Corporation, 4815 N Perkins Rd, Stillwater, OK 74076-0369
Spess Oil Company Inc, 200 S Broadway St, Cleveland, OK 74020-4617
State Of Oklahoma Board Of County Commissions , 320 Robert S. Kerr Avenue, Oklahoma City,
OK 73102


DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                             Page 11 of 14
             Case: 22-12088       Doc: 239     Filed: 07/03/23        Page: 12 of 14




Stephens Production Co, 623 Garrison Ave, Fort Smith, AR 72902-2407
T Bar M Energy Resources LLC, 1302 Commercial, Mounds, OK 74047-0668
Taylor International Inc, 940 Lou Allard Dr, Drumright, OK 74030
Tee Cee's Inc, 1103 E Broadway, Drumright, OK 74030
U.S. Army Corps Of Engineers, 351 Corps Road, Denison, TX 75020
Umberham Oil Company Inc, 10608 Berrywood Dr, Oklahoma City, OK 73151
Wachob Oil & Gas LLC, 3378 W Highway 117, Sapulpa, OK 74066-6987

        This is to further certify that on July 3, 2023, a true and correct copy of the Debtor’s
Application For Order Vacating July 11, 2023 Confirmation Hearing, filed on July 3, 2023, was
served to the following parties via the Court’s ECF electronic transmission facilities:

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Brady Wes Granger on behalf of Creditor United States, ex rel., Internal Revenue Service
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Scott P. Kirtley on behalf of Creditor RCB Bank
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Lorena Massey on behalf of Creditor Oklahoma Tax Commission
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DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                     Page 12 of 14
             Case: 22-12088       Doc: 239     Filed: 07/03/23     Page: 13 of 14




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Lyle R. Nelson on behalf of Creditor Yale Water and Sewer Trust
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DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                   Page 13 of 14
           Case: 22-12088       Doc: 239     Filed: 07/03/23    Page: 14 of 14




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                                           AND DEBTOR-IN-POSSESSION




DEBTOR’S APPLICATION FOR ORDER VACATING
JULY 11, 2023 CONFIRMATION HEARING                                                 Page 14 of 14
